                 Case 1:18-cv-01979-ACA Document 29 Filed 06/30/20 Page 1 of 2                                 FILED
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                                                                                                    U.S. DISTRICT COURT
                                                                                                        N.D. OF ALABAMA


                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                            June 30, 2020

Ashley R. Rhea
Rhea Law, LLC
104 23RD ST S STE 100
BIRMINGHAM, AL 35233

Appeal Number: 20-12391-G
Case Style: Gregory Holt v. Kyocera Document Solutions Al
District Court Docket No: 1:18-cv-01979-ACA

This Court requires all counsel to file documents electronically using the Electronic Case
Files ("ECF") system, unless exempted for good cause. Non-incarcerated pro se parties
are permitted to use the ECF system by registering for an account at www.pacer.gov.
Information and training materials related to electronic filing, are available at
www.ca11.uscourts.gov.

The referenced case has been docketed in this court. Please use the appellate docket number
noted above when making inquiries.

Attorneys who wish to participate in this appeal must be admitted to the bar of this Court,
admitted for this particular proceeding pursuant to 11th Cir. R. 46-3, or admitted pro hac vice
pursuant to 11th Cir. R. 46-4. In addition, all attorneys (except court-appointed counsel) who
wish to participate in this appeal must file an Appearance of Counsel form within 14 days. The
Application for Admission to the Bar and Appearance of Counsel Form are available at
www.ca11.uscourts.gov. The clerk generally may not process filings from an attorney until that
attorney files an appearance form. See 11th Cir. R. 46-6(b).

11th Cir. R. 33-1(a) requires appellant to file a Civil Appeal Statement in most civil appeals.
You must file a completed Civil Appeal Statement, with service on all other parties, within 14
days from the date of this letter. Civil Appeal Statement forms are available on the Internet at
www.ca11.uscourts.gov, and as provided by 11th Cir. R. 33-1(a).

MEDIATION. If a Civil Appeal Statement is required to be filed, your appeal and all
related matters will be considered for mediation by the Kinnard Mediation Center. The
mediation services are free and the mediation process is confidential. You may
confidentially request mediation by calling the Kinnard Mediation Center at 404-335-6260
(Atlanta) or 305-714-1900 (Miami). See 11th Cir. R. 33-1.
         Case 1:18-cv-01979-ACA Document 29 Filed 06/30/20 Page 2 of 2
               Case: 20-12391 Date Filed: 06/26/2020 Page: 2 of 2




Every motion, petition, brief, answer, response and reply filed must contain a Certificate of
Interested Persons and Corporate Disclosure Statement (CIP). Appellants/Petitioners must file a
CIP within 14 days after the date the case or appeal is docketed in this court;
Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after the case
or appeal is docketed in this court, regardless of whether appellants/petitioners have filed a CIP.
See FRAP 26.1 and 11th Cir. R. 26.1-1.

On the same day a party or amicus curiae first files its paper or e-filed CIP, that filer must also
complete the court's web-based CIP at the Web-Based CIP link on the court's website. Pro se
filers (except attorneys appearing in particular cases as pro se parties) are not required or
authorized to complete the web-based CIP.

Pursuant to Eleventh Circuit Rule 42-1(b) you are hereby notified that upon expiration of (14)
days from this date, this appeal will be dismissed by the clerk without further notice unless the
default(s) noted below have been corrected:

File a Transcript Information Form, as required by Fed.R.App.P. 10(b)(1); a Transcript
Information Form is available from the district court clerk. Appellant is required to file and
serve copies of the form in accordance with the instructions included on the form. UNLESS A
TRANSCRIPT IS ORDERED, APPELLANT'S BRIEF MUST BE SERVED AND FILED
WITHIN 40 DAYS FROM June 26, 2020. See 11th Cir. R. 12-1 and 31-1.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Lee Aaron, G
Phone #: 404-335-6172

                                                                 DKT-2 Appeal WITH Deficiency
